                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      CHATTANOOGA

 UNITED STATES OF AMERICA,                         )
                                                   )
 v.                                                )           1:10-CR-5-02
                                                   )           Mattice / Lee
                                                   )
 TERENCE CRAWLEY,                                  )

                                             ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Counts One and Two of the two-

 count Indictment; (2) accept Defendant’s plea of guilty to Counts One and Two of the Indictment;

 (3) adjudicate Defendant guilty of the charges set forth in Counts One and Two of the Indictment;

 (4) defer a decision on whether to accept the plea agreement until sentencing; and (5) find Defendant

 shall remain in custody until sentencing in this matter [Doc. 103]. Neither party filed a timely

 objection to the report and recommendation. After reviewing the record, the Court agrees with the

 magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS

 the magistrate judge’s report and recommendation [Doc. 103] pursuant to 28 U.S.C. § 636(b)(1) and

 ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Counts One and Two of the

                Indictment is GRANTED;

        (2)     Defendant’s plea of guilty to Counts One and Two of the Indictment is ACCEPTED;

        (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Counts One and

                Two of the Indictment;

        (4)     A decision on whether to accept the plea agreement is DEFERRED until sentencing;




Case 1:10-cr-00005-TRM-SKL           Document 111         Filed 06/01/11       Page 1 of 2     PageID
                                           #: 569
             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Monday, August 15, 2011 at 2:00 p.m. before the

             Honorable Harry S. Mattice, Jr.

       SO ORDERED.

       ENTER:



                                                        /s/Harry S. Mattice, Jr.
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




                                               2


Case 1:10-cr-00005-TRM-SKL       Document 111        Filed 06/01/11   Page 2 of 2   PageID
                                       #: 570
